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UNITED STATES DISTRICT C()URT
EASTERN DISTRICT OF NEW YORK
X

 

TODD C. BANK,

Piainriff, § ease NO. 1;15_cv_5708 -CBA-VMS

LIFEWATCH, INC., LIFEWATCH SECURITY,
INC., each doing business as LIFEWATCH-USA,
and SAFE HOME SECURITY, INC. and EVAN

SIRLIN

Defendants.

 

V()LUNTARY STIPULATION OF DISMISSAL WITH PREJUDICE
Pursuant to FRCP. Rule 41, the parties hereby stipulate and agree that any and all of
Piaintiff’ s claims against Defendants in the above-captioned case are HEREBY
VOLUNTARILY DISMISSED WITH PREJUDICE, each party to bear their OWn fees and
costs.

DATED: January 12, 2018

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